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 8                          IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ANTHONY L. ALLEN, JR.,                             No. 2:22-CV-0011-DAD-DMC-P
12                       Petitioner,
                                                         ORDER
13           v.
14    BRYAN D. PHILLIPS,
15                       Respondent.
16

17                  Petitioner, a state prisoner proceeding pro se, brings this petition for a writ of

18   habeas corpus under 28 U.S.C. § 2254. Pending before the Court are: (1) Petitioner’s motion to

19   exclude evidence, ECF No. 40; and (2) Petitioner’s request to produce portions of the state court

20   record, ECF No. 41.

21                  A review of the docket reflects that Respondent has filed a motion to dismiss

22   based on failure to exhaust state court remedies. Respondent’s motion and any opposition thereto

23   Petitioner may file do not require consideration of any evidence or state court records.

24   Petitioner’s motions/requests will be denied without prejudice to renewal should Respondent’s

25   motion to dismiss be denied and following lodging of the state court record concurrent with an

26   answer to the petition. By separate order, the Court has granted Petitioner an extension of time to

27   file an opposition to Respondent’s motion to dismiss.

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 1                Accordingly, IT IS HEREBY ORDERED as follows:

 2                1.     Petitioner’s motion, ECF No. 40, is DENIED without prejudice.

 3                2.     Petitioner’s request, ECF No. 41, is DENIED without prejudice.

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 5   Dated: October 23, 2023
                                                       ____________________________________
 6                                                     DENNIS M. COTA
 7                                                     UNITED STATES MAGISTRATE JUDGE

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